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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                  §
                                          §
v.                                        §    CIVIL NO.: 1:13cv416-HSO-RHW
                                          § CRIMINAL NO.: 1:12cr33-HSO-RHW
DANTE LAMAR CAMERON                       §

                      CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned case,
in which the detention complained of arises out of process issued by a state court or
a proceeding pursuant to 28 U.S.C. § 2254, or the detention arises out of a judgment
and conviction in federal court which is being challenged pursuant to 28 U.S.C. §
2255, the Court, considering the record in this case and the requirements of 28
U.S.C. § 2253, Rule 22(b) of the Federal Rules of Appellate Procedure, and Rule 11
of the Rules Governing Section 2254 and 2255 Cases in the United States District
Courts, hereby finds that:

        X    A Certificate of Appealability should not issue. The applicant has
             failed to make a substantial showing of the denial of a constitutional
             right.

             A Certificate of Appealability should issue for the following specific
             issue(s):

REASONS:

Defendant has not made a “substantial showing of the denial of a constitutional
right.” See 28 U.S.C. § 2253(c)(2); Elizalde v. Dretke, 362 F.3d 323, 328 (5th Cir.
2004). Defendant’s Motion, the record, and relevant legal authorities do not
demonstrate that Defendant is entitled to relief under 28 U.S.C. § 2255. See
Memorandum Opinion and Order Denying Defendant’s Motion to Vacate, Set Aside,
or Correct Sentence by a Person in Federal Custody Pursuant to 28 U.S.C. § 2255.

DATE: May 14, 2014.


                                        s/ Halil Suleyman Ozerden
                                        HALIL SULEYMAN OZERDEN
                                        UNITED STATES DISTRICT JUDGE
